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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                   NO. 4:04CR00291-03 JLH

DONALD BONE                                                                      DEFENDANT

                                            ORDER

       Donald Bone has filed a motion for early termination of supervised release. Document

#1036. The United States must file a response to the motion, after conferring with the probation

office, on or before May 28, 2015.

       IT IS SO ORDERED this 14th day of May, 2015.



                                                   ___________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
